Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 1 of 45

Fill in this information to identify your case:

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: District of

Case number _19-12008-ABL CJ Check if this is an
{If known} ~\ amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

 

Be as complete and accurate as possible. If two married people are fillng together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

a Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B oo... ccc cee cette teeter ete eer eee enna e ne seus ee ceeeeseneenteeesaeetseeaegs $ —__ 500000
1b. Copy line 62, Total personal property, from SCHEduUIe A/B oo... cscs esesaessecsseceseecsseesssetsecassccaneessacteeenetanieanietereeeas $ 1500
1c. Copy line 63, Total of all property on Schedule A/B oo... cece cette terete ete ere teers ten tear etna rene eee anenenateentesaaene riety $ 1800
En Summarize Your Liabitities
Your fiabilities

Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 2000
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F oe nee $_____ en
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F oo... cece tees + 5 505300
Your total liabilities $ 505300
| Part 3: | Summarize Your Income and Expenses
- 4. Schedule I: Your income (Official Form 1061) 1500
Copy your combined monthly income from line 12 Of Schedule | oo... cee tet ee re tenet renee renee eaten tennenerenetee rene $_
5. Schedule J: Your Expenses (Official Form 1063)
Copy your monthly expenses from line 22c of SCHEDUE J... cece cene tet retete teeter eens nett tn rer naee none rnnerecenessanen ines $ _____—3800

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 2 of 45

Debtor 1 VERA CROWLEY Case number (it known) 19-12008

First Name Middle Name Last Name

 

Ea Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

CI) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

a Yes

 

7. What kind of debt do you have?

Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. 5 1500

 

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

 

Total claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) 5,
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as $
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$
9g. Total. Add lines 9a through 9f. $ 0

 

 

 

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 3 of 45

Fill in this information to identify your case and this filing:

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of
19-12008ABL

Case number

 

() Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsibie for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

ian Describe Each Residence, Building, Land, or Other Reai Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or simiiar property?

O) No. Go to Part 2.
i Yes. where is the property?

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

w Single-family home the amount of any secured claims on Schedule D:

1A. 2152 PONT NATIONAL DR Creditors Who Have Claims Secured by Property.

C] Duplex or multi-unit buildi
Street address, if available, or other description P t building

 

 

 

 

 

 

 

C) Condominium or cooperative Current value of the Current value of the
O) Manufactured or mobile home entire property? portion you own?
QO) Land $ 500,000 5 985,000
C) investment property

HENDERSON O Timeshare Describe the nature of your ownership

City State ZIP Code QO oth interest (such as fee simple, tenancy by

ther the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

CLARK WY debtor 1 only

County C) Debtor 2 only

(] check if this is community property

O) Debtor 1 and Debtor 2 only f \
(see instructions)

O) At teast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

if you own or have more than one, list here:

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

QO Single-family home the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

 

 

 

 

4.2. uni sat
Street address, if available, or other description O duplex or mult unit building
UO) Condominium or cooperative Current value of the Current value of the
() Manufactured or mobile home entire property? portion you own?
QO) tana $ $
CJ investment property
: Describe the nature of your ownership
City State ZIP Code 4 Timeshare interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one.

C) Debtor 1 only

O) Debtor 2 only

Q) Debtor 4 and Debtor 2 only CQ) Check if this is community property
CO) At least one of the debtors and another (see instructions)

 

 

County

Other information you wish to add about this item, such as local
property identification number:

 

Official Form 106A/B Schedule A/8: Property page 1
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Debtor 1 VERA CROWLEY Case number (if known), 19-12008ABL.
First Name Middle Name Last Name
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
OQ Single-family home the amount of any secured claims on Schedule D:
1.3. Creditors Who Have Claims Secured by Property.

 

Street address, if available, or other description

 

 

 

©) Lang $ $
O2 investment property
City State. ZipCode (J Timeshare Describe the nature of your ownership
OQ interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
C) Debtor 1 only
County C) Debtor 2 only
C) Debtor 1 and Debtor 2 only QO) Check if this is community property
CJ At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 998,000
you have attached for Part 1. Write that mumber here. ................. ccc ceec cece teen nee rene EE EEE Eee EERE EER EES > as

i Describe Your Vehicles

QO Duplex or multi-unit building
CQ) Condominium or cooperative
() Manufactured or mobile home

 

Current value ofthe Current value of the
entire property? portion you own?

 

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

WU No
QO Yes

3.1, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
Q) Debtor 1 only

CQ) debtor 2 only

C) Debtor 1 and Debtor 2 only

Q] atleast one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) Debtor 1 only

OQ) Debtor 2 only

C) Debtor 1 and Debtor 2 only

(CJ) At teast one of the debtors and another

Q) Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

page 2

 
Case 19-12008-abl

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Who has an interest in the property? Check one.

Debtor 1 VERA CROWLEY
First Name Middle Name
3,3, Make:
Model: Q) Debtor 1 only
Q Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

C] Debtor 1 and Debtor 2 only
(C1 At least one of the debtors and another

(2 Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q Debtor 1 only

QQ Debtor 2 only

Q Debtor 1 and Debtor 2 only

(QQ at least one of the debtors and another

C) Check if this is community property (see
instructions)

Case number (i known) 19-1 2008ABL

 

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the -
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the |
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreatlonal vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

YW No
C) Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

4.2, Make:
Model:
Year:

Other information:

 

 

 

 

Who has an interest in the property? Check one.

QQ) Debtor 1 only

QQ Debtor 2 only

QQ Debtor 1 and Debtor 2 only

(2 At least one of the debtors and another

C) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

(2 Debtor 1 only

(2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

Q At least one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

 

 

Cl Check if this is community property (see $ $
instructions)
5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages s
you have attached for Part 2. Write that number here o.oo. cee esses cennsiissesisirsateentseeeieseneniaceertees >

Official Form 106A/B

Schedule A/B8: Property

 

 

 

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VERA CROWLEY

Debtor 1

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Case number (i known) 19-12008ABL

 

 

First Name Last Name

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items?

Middle Name

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CQ) No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

id Yes. Describe......... 1 SOFA, 3 BEDS FRIG, STOVE OVEN, MICROWAVE

 

5 1,500

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

C) No

 

Yes. Describe.......... 1TV

 

 

 

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects,
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
J No

 

C) Yes. Describe..........

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

id No

 

C) Yes. Describe..........

 

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Wd No

 

C) Yes. Desecribe..........

 

 

 

11.Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

C) No

 

1 Yes. Describe.......... 5 JEANS, 5 TEE SHIRTS, 1 PAIR TENNIS SHOES

 

 

 

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

 

J No
C) Yes. Describe..........

 

 

 

13. Non-farm animals
Examples. Dogs, cats, birds, horses

J No

 

C) Yes. Deseribe..........

 

14. Any other personal and household items you did not already list, including any health aids you did not list

J No

 

CQ) Yes. Give specific
information. .............

 

 

15. Add the dollar vaiue of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here o.oo ccccccccccccscscssesssseessecssvessvectaversssetesesesrestaretasmussnissvesterppaytaressietieesecssisessvaeestcasestsetees >

Official Form 106A/B Schedule A/B: Property

§ 200.00

$ 100.00

:

 

 

$ 1,800

 

 

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Debtor 4 VERA CROWLEY Case number (if known) 19-12008ABL
FirstName Middle Name Last Name
Ea Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured claims

 

 

 

 

 

 

 

 

 

 

 

 

 

 

or exemptions.
16.Cash
Examples. Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
id No
O VES ooicccccccccccreecccceecsesnersecueeesnaesyseacsuetesesecauesscsueseaeeeceaeseesececcseecenteecteeeeeneseetesyenescotsesseeesitentiteysecrepees Cash: cccccccceeeee 3 0.00
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
id No
i institution name:
17.1. Checking account: N/A 3
47.2. Checking account: N/A $
17.3. Savings account: N/A $
47.4. Savings account: N/A $
47.5. Certificates of deposit N/A $
47.6. Other financial account: N/A $
47.7. Other financial account: N/A $
47.8. Other financial account: N/A $
47.9, Other financial account: N/A $
18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
UW no
O) Yes. Institution or issuer name:
3
3
3
19. Non-publicly traded stock and interests in Incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
UW no Name of entity: % of Ownership:
QO) Yes. Give specific 0% % $
information about 0%
them... ° % $
0% % 5

 

Official Form 106A/B Schedule A/B: Property page 5
Case 19-12008-abl

VERA

Debtor 1

CROWLEY

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Case number (if known) 19-1 2008ABL

 

 

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include persona! checks, cashiers’ checks, promissory notes, and money orders.

Non-negotiable instruments are those you cannot tra

W No

nsfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

() Yes. Give specific Issuer name:
information about
theM..ae $
$
$
21. Retirement or pension accounts
Examples. Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
1 No
Q) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar pian: $.
Pension plan: $.
IRA: $
Retirement account: $.
Keogh: $.
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
(4d No
7 institution name or individual:
Electric: 5
Gas: 5
Heating oil: $
Security deposit on rental unit: 5
Prepaid rent: $.
Telephone: 3
Water: $
Rented furniture: 5
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Z No
i ee Issuer name and description:
$
$

 

Official Form 106A/B

Schedule A/B: Property

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Case 19-12008-abl

Debtor 1 VERA CROWLEY

 

First Name Middle Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.

Last Name

26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

UY No
CB VES occcccccceccccseeeseeen

Case number (if known) 19-12008ABL

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Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers

exercisable for your benefit
No

 

Q) Yes. Give specific
information about them....

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other Intellectual property

Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

W No

 

(3 Yes. Give specific
information about them...

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

Y no

 

Q Yes. Give specific
information about them....

 

 

 

Money or property owed to you?

28. Tax refunds owed to you
No
C) Yes. Give specific information
about them, including whether

you already filed the returns
and the tax years... eee eee

29. Family support

Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No
C) Yes. Give specific information..............

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,

 

 

Federal:
State:

Local:

 

 

 

 

Alimony:
Maintenance:
Support:

Divorce settlement:

Property settlement:

 

 

Socia! Security benefits; unpaid loans you made to someone else

No
C) Yes. Give specific information. ..............

Official Form 106A/B

 

 

 

 

Schedule A/B: Property

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

AAA A “A

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Debtor 1 VERA CROWLEY Case number (i known) 19-12008ABL

First Name Middie Name Last Name

 

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

UW No

() Yes. Name the insurance company Company name: Beneficiary: Surrender or refund value:
of each policy and list its value. ...

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

id No

OQ) Yes. Give specific information..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

i No

(2 Yes. Describe each claim. 00...

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

id No

(2 Yes. Describe each claim. «0.0...

 

 

 

 

35. Any financial assets you did not already list

id No

OQ) Yes. Give specific information............ $

 

 

 

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that mUMber Here oo. ccccccccceccccssssecssessssecsseccsseetsreessneeysieeceseessecsuecsueereiecautearetensseseteassinianiiceusessceneeseesness > $ 0.00

 

 

 

co Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
1d No. Go to Part 6.
Q2 Yes. Go to line 38.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

38. Accounts receivable or commissions you already earned

id No
OQ) Yes. Describe.......

 

 

 

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

id No
Q) Yes. Describe....... s

 

 

 

Official Form 106A/B Schedule A/B: Property page 8
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Debtor 1 VERA CROWLEY Case number (if known) 19-12008ABL

First Name Middle Name Last Name

 

 

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

 

 

W No
C) Yes. Describe....... 5
41. Inventory
Wf No |
QC) Yes. Describe....... 5
i

 

42. Interests in partnerships or joint ventures

WNo
QC) Yes. Describe.......

 

 

Name of entity: % of ownership:
% $
% $
% $

 

43. Customer lists, mailing lists, or other compilations
Wd No
QC) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

OC) No
QC) Yes. Describe........

 

 

 

 

44. Any business-related property you did not already list
Wd No

QC) Yes. Give specific
information .........

 

 

 

 

 

FF Ff FF HF

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here ooo... cece cessssensssssscostensssseteeseesetseceeateneeanteeeaimiscnneesssnteseussnetesnitesrieteeenteanetareciees >

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
W No. Go to Part 7.
C) Yes. Go to line 47.
Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47. Farm animals
Examples: Livestock, poultry, farm-raised fish

No
OD Ves occ

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9
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Debtor 1 VERA CROWLEY Case number (if known), 19-12008ABL

First Name Middie Name Last Name

 

 

48. Crops—either growing or harvested

UW no

Cl Yes. Give specific
information. ............ $

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

W No
7
$
50.Farm and fishing supplies, chemicals, and feed
W No
i (-
$
51. Any farm- and commercial fishing-related property you did not already list
WJ No
Q) Yes. Give specific
information............. $
52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here o.oo... ccc cccsscessssssesseseessosesstesvesssuseeesssscecesssceseeecevaeseemissssssrisssuntssuseesserssnetssaneteetsnines > —_~
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
W No
Q) Yes. Give specific $
information. ............
$
54, Add the dollar value of all of your entries from Part 7. Write that number here oo... te eens > s____—i0.00
List the Totals of Each Part of this Form
55. Part 1: Total real estate, We 2... ccc ccscccssesssswnesteessessssvesusensecsransteinneesesnerauenetesrsssmsissssssmssessisnsaeesssnsensetcecesessanss > s___ 900,000
56. Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total persona! and household items, line 15 $ 1,800
58. Part 4: Total financial assets, line 36 $ 0.00
59. Part 5: Total business-related property, line 45 $ 0.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +3 0.00
62. Total personal property. Add lines 56 through 61. «0.0... $ 1,800 Copy personal property total > +3 1,800
63. Total of all property on Schedule A/B, Add line 55 + lime 62......cscccsscssscssssssssssssssenssirssesisessisesnisssntseseuaseensee $ 1,800

 

 

Official Form 106A/B Schedule A/B: Property page 10

 
Case 19-12008-abl

Fill in this information to identify your case:

Debtor 1 VERA

CROWLEY

 

First Name

Debtor 2

Middle Name

Last Name

 

(Spouse, if filing) First Name

United States Bankruptcy Court for the:
19-12008ABL

Case number

Middle Name

Last Name

District of

 

(lf known)

 

 

Official Form 106D

CJ Check if this is an
amended filing

Schedule D: Creditors Who Have Claims Secured by Property

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12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
© No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

QC) Yes. Fill in all of the information below.

En List All Secured Claims

 

 

 

Column B

|

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A’: : Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim. Value of collateral Unsecured |
for each claim. !f more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the that supports this portion '
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim . ifany :
{
Describe the property that secures the claim: $ $ $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
a) Contingent
Q Unliquidated
City State ZIP Code © Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C] Debtor 4 only (2 An agreement you made (such as mortgage or secured
C2 debtor 2 only car loan)
CJ Debtor 1 and Debtor 2 only CJ statutory lien (such as tax lien, mechanic's lien)
QD Atleast one of the debtors and another Q) Judgment lien from a lawsuit
Q) other (including a right to offset)
(J Check If this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber_— = _
22 Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
a) Contingent
(2) unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
CQ) Debtor 1 only (J An agreement you made (such as mortgage or secured
() Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only (2 Statutory lien (such as tax lien, mechanic’s lien)
CJ Atleast one of the debtors and another (2 Judgment lien from a lawsuit
C) Other (including a right to offset)
(J Check if this claim refates to a
community debt
Date debt was incurred Last 4 digits of accountnumber Ss =
Add the dollar value of your entries in Column A on this page. Write that number here: f
Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1of_
Case 19-12008-abl

VERA

Debtor 1

CROWLEY

Case number (i known) 19-12008ABL

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First Name Middle Name

Last Name

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

Additional Page fates lens. ray hater Sanees oe
: : : ount of claim: ‘alue of collateral Unsecured -
After listing any entries on this page, number them beginning with 2.3, followed Dé dotdeductthe that supports this“ portio
by 2.4, and so forth. value of Collateral: claim o :
Describe the property that secures the claim: $ $ $
Creditor's Name
ELECTRIC COMP
Number Street |
As of the date you file, the claim is: Check all that apply.
LOS VEGAS QO Contingent
City State ZIP Code Q) unliquidated
OQ Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
Q) Debtor 1 only O Anagreement you made (such as mortgage or secured
Q) Debtor 2 only car loan)
(J Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic's lien)
QO Atleast one of the debtors and another QJ Judgment lien from a lawsuit
Cd Other (including a right to offset)
OQ) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits of accountnumber
L_| Describe the property that secures the claim: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
Q) unliquidated
City State ZIP Code Q Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
U1 Debtor 1 only QO An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
Q) Debtor 1 and Debtor 2 only Q) Statutory lien (such as tax lien, mechanic's lien)
C2 Atleast one of the debtors and another ( Judgment tien from a lawsuit
Q) Check if this claim relates to a 1 other (including a right to offset)
community debt
Date debt was incurred Last 4 digits ofaccountnumber
LJ Describe the property that secures the clalm: $ $ $
Creditor's Name
Number Street
As of the date you file, the claim Is: Check ail that apply.
QO Contingent
City State ZIP Code OQ Unliquidated
QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
C) Debtor 1 only CJ An agreement you made (such as mortgage or secured
O Debtor 2 only car loan)
O Debtor 1 and Debtor 2 only QO Statutory lien (such as tax lien, mechanic's lien)
OQ Atteast one of the debtors and another Q1 Judgment tien from a tawsuit
O other (including a right to offset)
Q) Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccountnumber_
Add the dollar value of your entries in Column A on this page. Write that number here: |,
If this is the last page of your form, add the doilar value totals from all pages.
+ munuw-.Weite that number here: s
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page of
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 15 of 45

Debtor 1 VERA CROWLEY Case number (i known). 19-1 2008ABL

First Name Middle Name Last Name

Era List Others to Be Notified for a Debt That You Already Listed

 

 

! Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection

» agency Is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
: you have more than one creditor for any of the debts that you listed in Part 4, list the additional creditors here. If you do not have additional persons to
- be notified for any debts In Part 1, do not fill out or submit this page.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber—
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number.
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of accountnumber_
Number Street
City State ZIP Code

| On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number oe
Number Street
City State ZIP Code

On which line in Part 1 did you enter the creditor?
Name Last 4 digits of account number_ =
Number Street
City State ZIP Code

 

 

Official Form 106D Part 2 of Schedule D: Creditors Who Have Claims Secured by Property page of
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 16 of 45

Fill in this information to identify your case:

VERA CROWLEY

First Name

Debtor 1

 

Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: District of

Case number 19-12008ABL

(If known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

ia List All of Your PRIORITY Unsecured Ciaims

: 4. Do any creditors have priority unsecured claims against you?

L) Check if this is an
amended filing

 

 

 

 

12/15

 

 

 

 

 

 

 

 

 

LI) No. Go to Part 2.
Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim it is. Ifa claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
Total clalm Priority... Nonpriority
amount. amount
2.4
| N.V ENERGY Last 4 digits of account number 9 8 8 5 $2,000 $__
Priority Creditor's Name
6226 W SAHARA AVE When was the debt incurred? 02/15/2019
Number Street
5 S As of the date you file, the claim Is: Check all that apply
LAS VEGAS NV 8914 ,
City State ZIP Code J Contingent
; Q) unliquidated
Who incurred the debt? Check one. O bisputed
4 Debtor 1 only
CJ debtor 2 only Type of PRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only C) Domestic support obligations
At least one of the debtors and another (J Taxes and certain other debts you owe the government
C] Check if this claim is for a community debt (J Claims for death or personal injury while you were
is the claim subject to offset? intoxicated
No C) Other. Specify
QO Yes
2 | Last 4 digits of accountnumber ss $

Priority Creditors Name

 

 

 

Who incurred the debt? Check one.
O) Debtor 1 only
O) debtor 2 only

 

 

When was the debt incurred?

Number Street
As of the date you file, the clatm is: Check all that apply
O) Contingent

City State ZIP Code C) unliquidated

QO Disputed

Type of PRIORITY unsecured claim:

 

© pebter 1 and Debtor 2 only QC) Domestic support obligations

OC Atleast one of the debtors and another QO) Taxes and certain other debts you owe the government
Cl) Check If this claim is for a community debt 0 vais for geath or personal injury while you were

Is the claim subject to offset? L) Other. Specify

O) No

Ql] Yes

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of __

 
Case 19-12008-abl
VERA CROWLEY

Debtor 1

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Case number (i known) 19-1200ABL

 

First Name Middle Name

Last Name

Gn Your PRIORITY Unsecured Claims — Continuation Page

—

 

 

 

 

 

Nonprlority,

 

 

 

 

 

 

 

 

 

 

_ After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim: .... Priority:
: amount amount.
Last 4digits of accountnumber_—  tiéCS $ $
Priority Creditor’s Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q] Contingent
City State ZIP Code C1) unliquidated
gO Disputed
Who incurred the debt? Check one.
OQ) debtor 4 only Type of PRIORITY unsecured claim:
UW debior 2 only LJ Domestic support obligations
L) Debtor 1 and Debtor 2 only Q .
Taxes and certain other debts you owe the government
LJ At least one of the debtors and another . _ .
LJ Claims for death or personal injury while you were
O Check if this claim is for a community debt intoxicated
Q) other. Specify
Is the claim subject to offset?
L) No
Cl] Yes
Last 4 digits of accountnumber_ st S $ $
Priority Creditor's Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
L) Contingent
City State ZIP Code LJ Unliquidated
QO Disputed
Who incurred the debt? Check one.
CG] debtor 1 only Type of PRIORITY unsecured claim:
O bebior2 only C1 Domestic support obligations
L) Debtor 1 and Debtor 2 only .
C] Taxes and certain other debts you owe the govemment
Cl Atleast one of the debtors and another . :
LJ Claims for death or personal injury while you were
L) Check if this claim is for a community debt intoxicated
C2) other. Specify
Is the claim subject to offset?
Q) No
L) Yes
Last 4 digits of accountnumber_ tS $ $

 

Priority Creditor's Name

 

Number Street

 

 

City State ZIP Code

Who incurred the debt? Check one.

L) debtor 1 only

L) Debtor 2 only

L) Debtor 1 and Debtor 2 only

Cl Atleast one of the debtors and another

LJ Check if this claim is for a community debt

Is the claim subject to offset?

L) No
Cl] Yes

 

 

When was the debt incurred?

As of the date you file, the cialm is: Check all that apply.

Q Contingent
L) unliquidated
im Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the govemment
Claims for death or personal injury while you were

 

intoxicated
Other. Specify

oO OOO

 

 

Official Form 106E/F

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page__of_

 
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Debtor 1 VERA CROWLEY

 

First Name Middle Name Last Name

ea List Allof Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

claims fill out the Continuation Page of Part 2.

 

 

 

 

Case number (if known) 19-12008ABL

 

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. [f more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

 

 

 

 

 

 

 

 

_Totalelaim
44
Last 4 digits of account number
Nonpriority Creditor's Name $
When was the debt incurred?
Number Street
City State ZIP Code As of the date you file, the claim is: Check all that apply.
Q] Contingent
Who incurred the debt? Check one. QC) Unliquidated
QC] Debtor 1 only QC) Disputed
Cl] Debtor 2 only
QJ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C At ieast one of the debtors and another OC) student loans
O Check if this claim ts for a community debt Q) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
QO) No CJ Other. Specify
i QC] Yes
2 | Last 4 digits of accountnumber $
| Nonpriority Creditor's Name When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
Who incurred the debt? Check one. C1 unliquidated
QJ Debtor 4 only Q Disputed
td) Debtor 2 only Type of NONPRIORITY d claim:
QJ Debtor 1 and Debtor 2 only ype o unsecured claim:
CJ Atleast one of the debtors and another QC] student loans
. Q Obligations arising out of a separation agreement or divorce
L) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? QJ Debts to pension or profit-sharing plans, and other similar debts
CJ No C] Other. Specify
Q] Yes
4.3 .
Last 4 digits of account number $

Nonpriority Creditor's Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

Q] Debtor 1 only

QJ Debtor 2 only

QJ Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

Q] Check if this claim is for a community debt

Is the claim subject to offset?
Q) No
Q) Yes

 

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
CJ unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar debts
Other. Specify

oOo oo

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page of __

 
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Debtor1 VERA CROWLEY

 

First Name Middle Name Last Name

Case number (i known) 19-1200ABL

 

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

|

 

 

 

Last 4 digits of account number ___

 

 

 

 

 

 

 

—_— $
Nonpriority Creditor's Name
When was the debt incurred?
Number Street ae
As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
LJ unliquidated
Who incurred the debt? Check one. O) disputed
CJ Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only O student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt you did not report as prionty claims _,
LJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? LJ other. Specify
CL] No
C) Yes
Last 4 digits of account number ___ __ $
Nonpriority Creditor’s Name
When was the debt incurred?
Numb Street
umber ree As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO) Contingent
Q) Unliquidated
Who incurred the debt? Check one. Q disputed
LJ Debtor 4 only
C0 Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CJ Check if this claim Is for a community debt you did not report as prionty claims _,
CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? LJ Other. Specify
OC) No
C ves
$

 

Nonpriority Creditor’s Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

CJ Debtor 1 only

CJ Debtor 2 only

QJ Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

CJ Check if this claim is for a community debt

Is the claim subject to offset?

LJ No
Cl ves

 

 

Official Form 106E/F

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

QO Contingent
QC) unliquidated
CJ Disputed

Type of NONPRIORITY unsecured claim:

CJ Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

CJ other. Specify

 

Schedule E/F: Creditors Who Have Unsecured Claims

page__of___

 
Case 19-12008-abl

Debtor? VERA CROWLEY

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Case number (i known), 19-12008ABL

 

 

First Name

Middle Name

Last Name

| part 3: | List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
: example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street CJ Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits of account number ___ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (1 Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
_ Last 4 digits of account number __ _
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (1 Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (1 Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Ciaims
_ Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street (J Part 2: Creditors with Nonpriority Unsecured
Ciaims
Last 4 digits of accountnumber
City State ZIP Cade
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): (J Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number ___ _
City State ZIP Code
Name On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street . . an
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
City State ZIP Code Last 4 digits ofaccountnumber_

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page__of__

 
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Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

eo Add the Amounts for Each Type of Unsecured Claim

 

Case number (if known) 19-1200ABL

 

- 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

- Total claims
from Part 1

- Total claims
from Part 2

Official Form 106E/F

6a.

6c.

6d.

6e.

6h.

6i.

Domestic support obligations

. Taxes and certain other debts you owe the

government

Claims for death or personal injury while you were
intoxicated

Other. Add al! other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

6i.

6j.

 

 

 

 

 

 

Total claim
5 0.00
5 0.00
5 0.00
+5 0.00
$ 0.00
Total claim
5 0.00
5 0.00
5 0.00
+5 0.00
5 0.00

 

 

 

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

page__ of
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 22 of 45

Fill in this information to identify your case:

Debtor VERA CROWLEY

First Name Middle Name Last Name

 

Debtor 2
(Spouse If filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

19-12008
C. b
(rknown) Q) Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
QO) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

 

Name

 

Number Street

 

City State ZIP Code

 

 

Name

 

Number Street

 

City State ZIP Code
2.3:

 

Name

 

Number Street

 

City State ZIP Code
2.4

 

Name

 

Number Street

 

City State ZIP Code

N
Ld

 

Name

 

Number Street

 

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of_
Debtor 1

Case 19-12008-abl

Case number (if known)

 

First Name

Last Name

| | Additional Page if You Have More Contracts or Leases

Person or company with whom you have the contract or lease

 

Name

 

Number

Street

 

City

State

ZIP Code

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What the contract or lease is for

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

nN

i

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

City

State

ZIP Code

 

 

Name

 

Number

Street

 

 

City

Official Form 106G

State

ZIP Code

Schedule G: Executory Contracts and Unexpired Leases

page__ of
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 24 of 45

Fill in this information to identify your case:

 

 

 

 

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of
Case number 19-12008ABL
(If known)

 

QO) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/45

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

id No
OC) Yes

2. Within the last 8 years, have you iived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

CO) No. Go to line 3.
OC) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

O) No

Q) Yes. In which community state or territory did you live? . Fitlin the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. in Column 1, list ail of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fili out Coiumn 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

aa]

 

 

 

 

 

 

 

 

 

 

 

( Schedule D, line
Name
Q) Schedule E/F, line
Number Street O) Schedule G, line
City a _ State ZIP Code
3.2
) Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q) Schedule G, line
City a otate ZIP Code
3.3
7 () Schedule D, line
ame
OQ) Schedule E/F, line
Number Street ) Schedule G, line

 

City ce State ______2IP Code

 

 

 

Official Form 106H Schedule H: Your Codebtors pageiof.
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 25 of 45

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 VERA CROWLEY Case number (i known) 19-1 200ABL
First Name Middle Name Last Name
ma Additional Page to List More Codebtors
Column 1: Your codebtor ; Column 2: The creditor to whom you owe the debt
5] Check ail schedules that apply:
3.
CJ Schedule D, line
Name
C1 Schedule E/F, line
Number Street C) Schedule G, line
City State . ZIP Code
a
CJ Schedule D, line
Name
Q) Schedule E/F, line
Number Street Q] Schedule G, line
OY cus men nett neemmennne ee simaeannes nn EME, . ZIP Code
|
2 Schedule D, line
: Name
Q] Schedule E/F, line
Number Street QC) Schedule G, line
City State ZIP Code
eS
5 CJ Schedule D, line
ame
Q) Schedule EF, line
Number Street {) Schedule G, line
5] SHY sawunnue oe . vm EME er tne SIP GOde
N Q) Schedule D, line
Jame
CJ Schedule E/F, line
Number Street C) Schedule G, line
City . State ZIP Code
x
x 2 Schedule D, line
ame
(J Schedule E/F, line
Number Street C) Schedule G, line
City . State ZIP Code
|
Name (J Schedule D, line
CJ Schedule E/F, line
Number Street 2 Schedule G, line
City State ~____2iP Code
Name C) Schedule D, line
Q] Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code

 

 

 

 

Official Form 106H Schedule H: Your Codebtors page. of__
Case 19-12008-abl Doc18 Entered 04/22/19 12:24:56 Page 26 of 45

Fill in this information to identify your case:

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number 19-12008 Check if this is:

(If known)
() An amended filing

() A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 wT DDT YW
Schedule |: Your Income 42/15

Be as complete and accurate as possible. If two married peopie are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointiy, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Ca Describe Employment

1. Fillin your employment ai
information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

If you have more than one job,

attach a separate page with
vnformation about additional Employment status 4 Employed QO Employed
employers. C3 Not employed C3 Not employed

Include part-time, seasonal, or

self-employed work.

ad Occupation HAIR STYLIST
Occupation may include student
or homemaker, if it applies.

 

 

 

 

 

 

Employer's name SASSY CELEB
Employer's address 296101 NDUSTRIAL RD
Number Street Number Street
LAS VEGAS NV 89106
City State ZIP Code City State ZIP Code

How long employed there?

ra Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 1500 $
: 3. Estimate and list monthiy overtime pay. 3. +3 0 + $
4. Calculate gross income. Add line 2 + line 3. 4. $ 1500 $

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 1

 
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Debtor 1 VERA CROWLEY Case number (tknown_19-12008
First Name Middle Name Last Name
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were... ccc ccceecc ees eeee esse ees eeeeeeseeeesstertenntan net entasessensnnesseeansseieeeaney > 4. g___—-1500 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a $
5b. Mandatory contributions for retirement plans 5b. §$ $
5c. Voluntary contributions for retirement plans 5c. $ $
5d. Required repayments of retirement fund loans 5d. $ $
5e. Insurance Se. § $
5f. Domestic support obligations 5f. $ $
5g. Union dues 5g. $ $
5h. Other deductions. Specify: 5h. +3 + §$
6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d+5e+5f+5g+5h. 6. $ $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 1500 $
_ 8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ $
monthly net income. 8a. ——
8b. Interest and dividends 8b. § $
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal! support, child support, maintenance, divorce $ $
settlement, and property settlement. 8c. —_——
8d. Unemployment compensation 8d. = $C $
8e. Social Security 8e.  § $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: sf $400 $
8g. Pension or retirement income 8g. § $
8h. Other monthly income. Specify: 8h. +$ +§
| 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 9 | $ 1900 $
10. Calculate monthly income. Add line 7 + line 9. 1900} 4 = |s
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $__-<* $ 7

 

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already inciuded in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

Specify: 1.% $
12, Add the amount in the last column of line 10 to the amount in line 11. The resuit is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. s_____—_-1900_
Combined

monthly income
43. Do you expect an increase or decrease within the year after you file this form?
WH No.

 

 

C) Yes. Explain:

 

 

 

Official Form 1061 Schedule I: Your Income page 2
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Fill in this information to identify your case:

Debtor1 VERA CROWLEY

First Name Middle Name Last Name Check if this is:

 

Debtor 2 i]
(Spouse, if filing) First Name Middle Name Last Name Q An amended filing

_ (J A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Districtof expenses as of the following date:

Case number 19-1 2008ABL MM / DD/ YYYY

(If known)

 

 

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Cane Describe Your Household

1. Is this a joint case?

 

W No. Go toline 2.
Cl Yes. Does Debtor 2 live in a separate household?

OC) No
QC) Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

2. Do you have dependents?
y P Q No Dependent’s relationship to Dependent’s Does dependent live

Do not list Debtor 1 and Y Yes. Fill out this information for Debtor 4 or Debtor 2 age with you?

 

 

Debtor 2. each dependent... O
Do not state the dependents’ SUMMER GRAHAM 20 wu veg

names.
) No

QC) Yes

) No
QC) Yes

C) No
QC) Yes

) No
QC) Yes

 

 

 

 

 

 

3. Do your expenses include WNo
expenses of people other than
yourself and your dependents? O Yes

 

ir Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule |: Your income (Official Form 1061.) Your expenses

 

4. The rental or home ownership expenses for your residence. Include first mortgage payments and 2300
any rent for the ground or lot. 4. ,

If not included in line 4:

4a. Real estate taxes 4a $ INCLUDED
4b. Property, homeowner's, or renters insurance 4b. § 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $. 175.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor 1 VERA CROWLEY

18.

19.

20.

 

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans

Utilities:

6a. Electricity, heat, natural gas

6b. Water, sewer, garbage collection

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify:

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services

Medical and dental expenses

. Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments.
Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

 

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

 

installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2

17c. Other. Specify:

 

17d. Other. Specify:

 

Case number (i known) 19-12008ABL

 

6a.
6b.
6c.
6d.

10.

14.

12.
13.

14,

18a.

15b.

15d.

16.

17b.

417¢,

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on fine 5, Schedule |, Your Income (Official Form 106)).

Other payments you make to support others who do not live with you.
Specify:

 

Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your Income.

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowners, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

20a.

20b.

20c.

20d.
20e.

Your expenses

 

$ 0.00
s_______—«80.00
s___ 75.00
$ 50.00
$ 0.00
$ 250.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
$ 0.00
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$ 0.00
$ 0.00
s___.00.
s___ 00
$ 0.00
page 2
Case 19-12008-abl

Debtor 1 VERA CROWLEY

First Name Middie Name

21. Other. Specify:

Doc 18

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 21.

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Caiculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule 1.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income.

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Case number (i known) 19-12008ABL

21.

22a.

22b.

22¢.

23b.

23¢.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

@ No.

+$

 

 

$ 2,930.00
$.

$ 2,930.00

 

 

 

$ 1,900.00
-§ 2,930.00
$ 1,030.00

 

 

 

C) Yes. © Explain here:

 

 

 

Official Form 106J

Schedule J: Your Expenses

page 3

 

 
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Fill in this information to identify your case:

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of
Case number _19-12008

{If known)

 

C] Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42/15

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

W No

LJ Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and

Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correci”

«ne x
Oo

 

Signature of Debtor Signature of Debtor 2

  

Date
MM/ DD i YYYY

 

 

Official Form 106Dec Declaration About an Individual Debtor’s Schedules
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Fillin this information to identify your case:

Check one box only as directed in this form and in
Form 122A-1Supp:
Debtor? VERA CROWLEY

First Name Middle Name Last Name

CI) 1. There is no presumption of abuse.

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

Q) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7

United States Bankruptcy Court for the: District of Means Test Calculation (Official Form 122A-2).

Case number _19-12008ABL

(If known)

() 3. The Means Test does not apply now because of
qualified military service but it could apply later.

  

 

L] Check if this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

ia Calculate Your Current Monthly Income

 

 

1. What is your marital and filing status? Check one only.

Wi Not married. Fill out Column A, lines 2-11.
() Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

C) Married and your spouse is NOT filing with you. You and your spouse are:
(J Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

QC) Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $__0.00 $

3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. $___ $

4, All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your househoid, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not

filled in. Do not include payments you listed on line 3. $___0.00 $
5. Net income from operating a business, profession, Debtor 1 Debtor 2

or farm

Gross receipts (before all deductions) g_0.00 ¢

Ordinary and necessary operating expenses -$ 0.00-$

Net monthly income from a business, profession, orfamm ¢ 0.00 ¢ roPy $ 0.00 $
6. Net income from rental and other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $. 00 $e

Ordinary and necessary operating expenses -$_0.00-$

Net monthly income from rental or other real property $ 0.00 $ ror, $ 0.00 $
7. Interest, dividends, and royalties $ $.

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 1

 
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Debtor 1 VERA CROWLEY Case number ct known)_19-12008ABL
First Name Middle Name Last Name
Column A Column B
Debtor 1 Debtor 2 or

non-filing spouse

8. Unemployment compensation $ 0.00 $

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: 0.

FO YOU occ ccccscsssssessseesseeessesttusecsuceessvecesseeseneseneasesnararsareteen $
FOr YOUr SPOUSE... cee ect nes teenies $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. $ 0.00 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism. If necessary, list other sources on a separate page and put the total below.

$ 0.00 $
$ 0.00 $

 

 

 

Total amounts from separate pages, if any. +3 0.00 +3
11. Calculate your total current monthly income. Add lines 2 through 10 for each + =
column. Then add the total for Column A to the total for Column B. $ 0.00 $ $ 0.00

 

 

 

 

 

 

 

Total current
monthly Income

| Part 2: | Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11... nec einen rn tects Copy line 11 here > 0.00
Multiply by 12 (the number of months in a year). x 12

12b. The result is your annual income for this part of the form. 12b.

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. | NEVADA |

Fill in the number of people in your household. 3

 

 

 

 

 

 

Fill in the median family income for your state and size Of MOUSENON. oo cence renee tears tenis nteet tens ntentaeeseneanseseeeneaneaeens 13. $ 0.00

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

14a, Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3.

14b. LJ Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Ci Sign Below

By signing here, | declare ¢ndey penalty of perjury that the information on this statement and in any attachments is true and correct.

x

 

 

Signature of Debtor 2

Date
MM/ DD /YYYY

 

If you checked line 14a, do NOT fill out or file Form 122A-2.

 

If you checked line 14b, fill out Form 122A~2 and file it with this form.

 

 

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2
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Fill in this information to identify your case:

Debtor 1 VERA CROWLEY

First Name Middle Name Last Name

 

Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number 19-12008
(If known) () Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space Is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

an Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

Q) Married
a Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

W No

C) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
OQ Same as Debtor 1 () same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code
OQ Same as Debtor 1 Q) Same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

WNo

C) Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

EE Explain the Sources of Your Income

Official Form 107 Statement of Financia! Affairs for Individuals Filing for Bankruptcy page 1
Case 19-12008-abl

Debtor 1

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First Name Middle Name

Last Name

Case number (i known)

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

BH No

C) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,
YYYY

For the calendar year before that:

(January 1 to December 31,
YYYY

Sources of income
Check all that apply.

Qj Wages, commissions,
bonuses, tips

Qj Operating a business

Q Wages, commissions,
bonuses, tips

) QO Operating a business

Qj Wages, commissions,
bonuses, tips

)O Operating a business

Gross income

(before deductions and
exclusions)

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support, Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

QO Wages, commissions,
bonuses, tips

Qj Operating a business

Q) Wages, commissions,
bonuses, tips

Qj Operating a business

Q) Wages, commissions,
bonuses, tips

Qj Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

W No

C) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, )
YYYY

For the calendar year before that:

(January 1 to December 31, )
YYYY

Official Form 107

Sources of income
Describe below.

Gross income from
each source

(before deductions and
exclusions)

Sources of income
Describe below.

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy

 

Gross income

(before deductions and

exclusions)

 

Gross income from
each source

(before deductions and

exclusions)

page 2
Debtor 1

Case 19-12008-abl

Case number (i known)

 

First Name

Middle Name

Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

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No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

QC) No. Go to line 7.

Q) Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

C) Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

WY No. Go to line 7.

() Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Creditor's Name

Dates of Total amount paid Amount you still owe
payment :

 

Number

Street

 

 

City

State ZIP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ZIP Code

 

Creditor's Name

 

Number

Street

 

 

City

State ZIP Code

Was this payment for...

CJ mortgage

Q) car

C) creait cara

QO Loan repayment

QO Suppliers or vendors

QO Other

OC) Mortgage

Q) car

CI creuit card

C) Loan repayment

OQ) Suppliers or vendors

QO Other

QO Mortgage

C) car

CI) cregit cara

C) Loan repayment

OQ) Suppliers or vendors

C2 other

 

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Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
Case 19-12008-abl

Debtor 1

Case number (if known).

 

First Name.

Last Name

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7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

WH No

Cl Yes. List all payments to an insider.

Dates of
payment

Amount you still

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

Reason for this payment

 

 

insider's Name

 

Number Street

 

 

City

State ZIP Code

 

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

WH No

C) Yes. List all payments that benefited an insider.

Dates of
payment

 

Insiders Name

Amount you still

 

 

Number Street

 

 

City

State ZIP Code

 

Insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

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Reason for this payment

Include creditor's name

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Debtor 1 Case number (if known),
First Name Middle Name Last Name

 

iz Identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

WH No

CJ Yes. Fill in the details.

 

 

 

 

 

 

 

 

Nature of the case Court or agency Status of the case
Case title Court Name Q Pending
Q On appeal
Number Street Q Concluded
Case number
: City State ZIP Code
Case title Court Name Q Pending
Q On appeal
Number Street QO Concluded
Case number
City State ZIP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

WH No. Goto line 11.
C) Yes. Fill in the information below.

Describe the property Date Value of the property

 

Creditor's Name

 

Number Street Explain what happened

(J Property was repossessed.

QO Property was foreclosed.

(Property was garnished.

City State ZIP Code QO Property was attached, seized, or levied.

 

 

 

 

Describe the property Date Value of the property

 

Creditor's Name

 

 

Number Street :

Explain what happened

Property was repossessed.

Property was foreclosed.

Property was garnished.

Property was attached, seized, or levied.

 

 

City State ZIP Code

COcO

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Debtor 1 Case number (if known)
First Name Middle Name Last Name

41. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

W No

QQ) Yes. Fill in the details.

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditor’s Name
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed recelver, a custodian, or another official?

WNo
QQ) Yes

a List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

@ No
QQ Yes. Fill in the details for each gift.

 

 

 

 

 

 

 

 

 

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift
$
Number Street
City State ZIP Code
Person’s relationship to you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
Per person . . . . the gifts
$
Person to Whom You Gave the Gift
$

 

 

 

Number Street

 

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Case number (i known)

 

First Name Middle Name Last Name

14,Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

WH Nno

Q) Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed | Date you Value
that totai more than $600 contributed
: $
Charity's Name

 

 

 

 

Number Street

 

City State ZIP Code

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

W No

Q] Yes. Fill in the details.

 

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property
how the loss occurred . ae an loss lost
Include the amount that insurance has paid. List pending insurance
claims on line 33 of Schedule A/B: Property.
$

 

 

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
No
OQ) Yes. Fill in the detaits.

 

 

 

 

 

 

 

 

 

 

Description and vaiue of any property transferred Date payment or Amount of payment
transfer was

Person Who Was Paid woe ve : made

Number Street $.
$

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

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Debtor 1 Case number (if known),
First Name Middle Name Last Name

 

 

Description and value of any property transferred Date payment or Amount of
transfer was made payment

 

Person Who Was Paid

 

Number Street

 

 

City State ZIP Code

 

Email or website address

 

 

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

W no

Q) Yes. Fill in the details.

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
made
Person Who Was Paid :
Number Street 8
$

 

City State ZIP Code

 

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financlal affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

W No

C) Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person's relationship to you

 

Person Who Received Transfer

 

Number Street

 

 

 

 

City State ZIP Code

 

Person's relationship to you

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Debtor 1 Case number (i known)
First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

W No
C2 Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

 

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

No
Cl Yes. Fill in the details.
Last 4 digits of account number Type of account or Date account was Last balance before

Instrument closed, sold, moved, closing or transfer
or transferred

 

Name of Financlai institution

XXXX- () checking et $

 

Number Street Q Savings

Q Money market

 

Q Brokerage

 

 

 

City State ZIP Code Q Other
XXXX-__ __ Q) checking _ $
Name of Financiai institution
Q Savings
Number Street Q Money market

Q Brokerage

 

Cd other

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
W No
Q) Yes. Fill in the details.

 

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
have it?
ONo
Name of Financial institution Name /Q Yes
Number Street Number Street
City State ZIP Code

 

 

City State ZiP Code

 

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Debtor 1 Case number (i known).
First Name Middle Name Last Name

22, Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
a No
QO Yes. Fill in the details.

 

 

 

Who else has or had access to it? Describe the contents Do you still
have it?
i
ONo
Name of Storage Facility Name i oO Yes
Number Street Number Street

 

CityState ZIP Code

 

 

Clty State ZIP Code

Cr Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold In trust for someone.
W No
Q] Yes. Fill in the details.
Where is the property? Describe the property Value

 

Owner's Name $

 

Number Street

 

Number Street

 

 

 

City State ZIP Code

 

City State ZIP Code

Ria Glve Detalls About Environmental! Information

For the purpose of Part 10, the following definitions apply:

«= Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

 

 

« Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

« Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

ZH No

QO Yes. Fill in the details.

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

 

City State ZIP Code

 

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Debtor 1 Case number (i known)
First Name Middle Name Last Name

 

25.Have you notified any governmental unit of any release of hazardous material?

aw No
OC) Yes. Fill in the details.

 

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street

City State ZIP Code

 

City State ZIP Code

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@ No

O) Yes. Fill in the details.

 

 

Court or agency Nature of the case Status of the
case
Case title.
Court Name a Pending
O} on appeal
Number Street O concluded
Case number City State ZIP Code

Gi Glve Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
O Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
OC) A member of a limited liability company (LLC) or limited liability partnership (LLP)
OA partner in a partnership
C2] An officer, director, or managing executive of a corporation

C2 An owner of at least 5% of the voting or equity securities of a corporation

W No. None of the above applies. Go to Part 12.
CO) Yes. Check ali that apply above and fill in the details below for each business.
Describe the nature of the business Employer identification number
_ Donot include Social Security number or ITIN.

 

Business Name

 

 

 

 

 

EIN;
Number Street . L
Name of accountant or bookkeeper Dates business existed
_ From To
City State ZIP Code - al
Describe the nature of the business Employer Identification number

 

_, Do not include Social Security number or ITIN.

Business Name

 

 

EIN: eee
Number Street ,
Name of accountant or bookkeeper Dates business existed
» From To

 

 

 

City State ZiP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 11

 
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Debtor 1 Case number (if known)
First Name Middle Name Last Name

Employer Identification number
_ Do not include Sociai Security number or ITIN.

Describe the nature of the business

 

 

 

 

 

 

 

Business Name :

- BINS
Number Street Name of accountant or bookkeeper Dates business existed

| From To
City State ZIP Code

 

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

YW No

C) Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy€aae can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, add 3571.

    

x

Signature of Debtor 2

x Da

Signature of Debtor 1

som 4141 | 4 sa

Did you atta¢h additiona! pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

O) No
O) Yes

 

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

O) No

L) Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).

 

 

 

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